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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division



FRED HANEY,
et al.,

     Plaintiffs,

V.                                        Civil Action No. 3;22cv55


GENWORTH LIFE INSURANCE
CO., ^ al.,

     Defendants.



                           MEMORAITOUM OPINION


     This matter is before the Court on OBJECTORS LONNY AND CARROL

LANGS' MOTION FOR SERVICE AWARDS AND ATTORNEYS' FEES (ECF No. 142)

{"Langs' Fees Motion") . On February 1, 2023, the Court heard

argument on the Langs' Fees Motion from the Langs' counsel. The

related   JOINT   MOTION   TO   APPROVE   THE   SETTLEMENT   WITH   THE   LANG

OBJECTORS (ECF No. 139) was granted by the Court in a separate

opinion and order. ECF Nos. 150 and 151.

     Having considered all of the submitted information and for

the reasons set forth on the record during the hearing on February

7, 2023, as well as the reasons set forth below, the Langs' Fees

Motion will be granted in part and denied in part insofar as the

Court will not award the Langs' attorneys the full measure of fees

requested nor will the Langs receive the full incentive award they

requested.
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                               BACKGROUND


     A more detailed recitation of the facts and procedural history

is presented in the MEMORANDUM OPINION (EOF No. 134) dated January

26, 2023, and familiarity therewith is presumed. However, facts

and procedural history pertinent to the Langs' Fees Motion are

outlined below.


I.   The Class Action Complaint and the Claims

     a. The Complaint (EOF No, 1)

     Fred Haney, Marsha Merrill, Sylvia Rausch, Stephen Swenson,

and Alan Wooten {"Class Representatives"), individually and on

behalf of a proposed class of Genworth Choice 2, Choice 2.1,

California   CADE,    California Reprice,     and    California   Unbundled

policyholders as of January 1, 2013 (collectively "Plaintiffs" or

"class   members"),   filed   this   class   action   against     Defendants

Genworth   Life   Insurance    Company    ("GLIC")    and   Genworth   Life

Insurance Company of New York ("GLICNY") (collectively "Genworth"

or "Defendants"). Compl. H 170. Before the Complaint was filed,

the parties engaged in three-days of mediation and extensive

discovery that resulted in a Memorandum of Understanding ("MOU")

that set "forth the material terms of an agreement-in-principle to

be incorporated into a formal Settlement Agreement for the Court's

approval." ECF No. 28 HH 4-7. The Complaint asserts two claims.

COUNT ONE alleges a claim of fraudulent inducement by omission.

COUNT TWO is a claim for declaratory relief under 28 U.S.C. § 2201.
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     Jb. The Factual Background for the Class Claims

     Plaintiffs each have Choice 2, Choice 2.1, California CADE,

California    Reprice,       or    California   Unbundled    Long      Term    Care

Insurance policies issued by Genworth. Long Term Care ("LTC")

insurance is intended to defray the cost of home care, assisted

living care, nursing home care, and other specialized skilled

facility care required when an individual can no longer perform

the basic activities of daily life. Compl. H 4.

     Plaintiffs allege that, since 2013, Genworth has steadily and

substantially    increased         the   premiums   on   their   LTC    insurance

policies.    Compl.    H    3.    When   Genworth learned    that      there    were

substantial deficiencies in its reserves going forward, it sought

at least six waves of significant LTC premium rate increases to

compensate for the deficiency. Id. t 156. Plaintiffs also allege

that, to avoid reporting a current negative loss recognition

testing margin, Genworth relied almost entirely on billions of

dollars in future rate increases to plug the hole in its reserves.

Id. ^ 15.

     However,    say       the    Plaintiffs,   Genworth's   plan      for     those

substantial future rate increases was never shared with Genworth's

LTC policyholders. I^ M 157-59. Rather, it is alleged that

Genworth told policyholders only that it was "possible" that a

premium rate     would increase in the future,               without telling

policyholders that Genworth actually had significant holes in its
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reserve and    that, at that time,        Genworth actually planned to

significantly increase premiums over the next few years. Id.

24-29. Plaintiffs allege that Genworth only partially disclosed

material information when communicating the premium increases to

its LTC policyholders and that the undisclosed information was

material to the ability of policyholders to make informed decisions

respecting their LTC policy option renewals and the attendant

premium increases. Id. f 3.

      In other words, it is alleged that the undisclosed information

was material to decisions that LTC policyholders made respecting

whether, and to what extent, to renew or retain their LTC coverage;

that the undisclosed information was necessary to make accurate

the   information    that   was   disclosed;   and   that,   therefore,   the

omissions made the disclosed information fraudulent. It is also

alleged that Genworth intended that policyholders would rely on

the knowingly inadequate disclosures in making the election among

their policy choices.

      Generally     speaking,     the   choices   given   by   Genworth    to

policyholders respecting whether, and to what extent, to maintain

LTC policies were to: (1) maintain the existing LTC coverage and

pay the increased premium; (2) reduce the LTC coverage and pay a

lower premium; or (3) opt for a paid up LTC policy. Plaintiffs

maintain that, had they known the scope and magnitude of Genworth's
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plans for future rate increases, they would have made different

policy option elections than they actually made. Compl. H 200.

       c. The Claims


       In COUNT ONE, the Complaint presents a claim for fraudulent

inducement     by   omission.   Compl.    at   53-57.    In   particular,   the

Complaint alleged      that, "[b]y failing to adequately disclose

material information about Genworth's rate increase action plans

. . ., Genworth withheld material information from Plaintiffs and

the Class." Id. H 197. Further, the Complaint states that, "[h]ad

[the   class    members]   known    the   full   scope    and   magnitude    of

Genworth's rate action plans, and the Company's reliance on massive

rate increases in the future to remain viable, they would have

made different policy option elections." Id. ^ 200. The relief

sought in COUNT ONE is to put class members "in the same position

they were in before Genworth made the aforementioned omissions" by

providing the missing disclosures on future rate increases to class

members and allowing them to make new election decisions based on

the information. Id.        202-03.


       In COUNT TWO, the        Complaint presents a claim under the

Declaratory Judgment Act,          28 U.S.C. § 2201,          The Declaratory

Judgment claim is based on the same factual assertions as form the

basis for the fraudulent inducement claim in COUNT ONE. But in
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COUNT TWO, the Plaintiffs are asking that the Court "declare

Genworth had a duty to disclose that information" so that "a

corrective    disclosure    to   all   class   members    providing    this

information would be required." Compl. H 207.

II.   Procedural History

      Armed   with   knowledge   and   evidence   obtained    in   previous

similar cases against Genworth^, and after engaging in a period of

confirmatory discovery. Class Counsel filed PLAINTIFFS' MOTION TO

DIRECT NOTICE OF PROPOSED SETTLEMENT TO THE CLASS (ECF No. 26),

which the Court granted on May 2, 2022. ECF No. 31. On July 6,

2022, the parties submitted an Amended Settlement Agreement (ECF

No. 33-1) to amend the final Release. ECF No. 33 at 2. The Court

preliminarily approved the Amended Settlement Agreement on July 7,

2022, and directed that notice be sent to the Class. ECF No. 34.

The Notice explained the policy election options afforded to class

members, how they could communicate with Class Counsel about the

Amended Settlement Agreement, their rights and options thereunder,

how they could examine certain information on a website that was

set up as part of the settlement process, and their right to object

to the proposed settlement and opt out of the proposed case. Class

members were also informed that they could contact independent

counsel of their choice for advice.




1 Skochin v. Genworth Life Ins.          Co., No. 3:19cv49; Halcom v.
Genworth Life Ins. Co., No. 3:21cvl9.
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       Class Counsel has represented that, as of September 16, 2022,

they have spoken with almost 4,300 policyholders who had questions

about the Amended Settlement Agreement. ECF No. 40 at 22. Over the

course of the sixty days allotted in the Notice, 187 policyholders

opted out of the Settlement Agreement^, and 19 objections were

filed by 31 Class Members, including Lonny and Carrol Lang (ECF

No. 51)    On November 17, 2022, the Court held a hearing to give

objectors the opportunity to explain their objections, including

counsel for the Langs, and for counsel to the parties to respond.

The afternoon before that hearing, the parties informed the Court

that an agreement had been reached with the following objectors:

Michael Podoll (ECF No. 48} , Dr. David Friedman,              James Perry,

Thomas Toman, Doug and Bonnie Ebstyne, and William and Linda Dudley

(ECF    Nos.   56,    69,   and     73)    (collectively   "Podoll/Friedman

Objectors")/    and     Jane      Belkin    (ECF   No.   53)   (collectively


2 As of February 14, 2023, three additional policyholders have
opted out of the settlement, bringing the total number of opt outs
to 190 policyholders. ECF No. 155.

3 The objections were made in response to the Amended Settlement
Agreement (ECF No. 33-1) even though it is the Third Amended
Settlement Agreement (ECF No. 141-1) which reflects changes to the
Special Election Options in Appendix C made as a part of the two
settlement agreements with the different groups of objectors that
will ultimately be the document that applies to the Class members
if the Court approves it. The Court is not required to provide an
additional objection period for Class Members to review the Third
Amended Settlement Agreement because the changes are narrow and
further the interests of the Class. See Shaffer v. Continental
Cas. Co., 362 Fed. Appx. 627, 631 (9th Cir. 2010); Harris v.
Graddick, 615 F. Supp. 239, 244 (M.D. Ala. 1985).
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"Settlement       Objectors"). The         listed   parties     agreed    that,    in

exchange for making certain enhancements to the Special Election

Options in the Amended Settlement Agreement, the objectors would

withdraw their objections. EOF No. 96 at 13:1-13:5. That agreement

has been approved (EOF No. 130) and is incorporated in the Second

Amended Settlement Agreement (ECF No. 109-1). Counsel for the

objectors was also granted attorneys' fees, and each settlement

objector was awarded a $7,500 incentive payment. ECF No. 132.

     In a MEMORANDUM OPINION (ECF No. 122) and ORDER (ECF No. 123)

issued     on    December   12,    2022,    the   Court   overruled      the   Langs'

objections to the settlement except for the objection pertaining

to Class Counsel's attorneys' fees. On December 13, 2022, during

the final hearing, counsel for the Langs renewed their objection

to   the    Class     Counsel's     attorneys'      fees,   arguing      that     more

specificity was needed respecting the lodestar calculation. ECF

No. 133 at 123-25. In a MEMORANDUM OPINION (ECF No. 137) and ORDER

(ECF No. 138) issued on January 30, 2023, the Court overruled the

Langs' objection to the attorneys' fees.

III. The Terms of the Langs' Settlement Agreement

      To understand the Langs' Settlement Agreement (ECF No. 140-

1), it is necessary to understand the key terms of the Second

Amended Settlement Agreement. In broad terms, as explained by Class

Counsel,        the   Settlement    Agreement       "directly    addresses      [the]
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alleged   harm    by   providing       Class    Members   with    additional

Disclosures about future rate increases, and then allowing them

options" to either maintain their current benefits or "restructure

their benefits and premiums in light of those Disclosures, if they

so wish." ECF No. 40 at 2.


     To that end, the Second Amended Settlement Agreement dated

December 1, 2022 (ECF No. 109-1) provides that class members will

receive a "special election letter" from Genworth, which will allow

recipients   to   choose     between   keeping    their   current   plan   or

"elect[ing] from a selection of paid-up reduced benefit options

and/or reduced benefit options . . . some of which also entitle

Class Members to damages payments." ECF No. 109-1 HH 55(a)-(b).

Class members who make no elections will simply retain their

current policies. Id. t 57(a).

     Class   members   who    are   not   in   non-forfeiture    status,   and

"excluding Class Members whose level of benefits are below the

level of benefits available in the defined options," will receive

the following election options (ECF No. 109-1 at App. C(I)-(III)):

  • First Paid-Up Benefit Option: A paid-up benefit of lifetime
     paid-in premiums minus (1) benefits received to date, and (2)
     $10,000. And, in addition, a $10,000 cash damages payment.

  • Second Paid-Up Benefit Option: A paid-up benefit of 1.5 times
     the difference between the class member's paid-in premiums to
     date minus claims paid to date. This option does not include
     a damages payment.

     Reduced Benefit Options (RBOs): For qualifying class members,
     options that reduce their policy benefits while also awarding
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      them a $6,000 damages payment, and for qualifying members
      with inflation benefits, an option that reduces their overall
      benefits but retains the inflation protection and a damages
      payment of $3,000. A catchall RBO for otherwise non
      qualifying members whereby they receive a benefits reduction
      and a damages payment of $1,200.

      Fully Paid-Up Options; Class members who are in fully paid-
      up status may choose between: (1) Paid-up benefits equivalent
      to premiums paid in, less $10,000 and less benefits received,
      in addition to a $10,000 damages payment; or (2) a reduction
      in benefits and a damages payment of $6,000.

      Non-Forfeiture Status Option: Retention of current paid-up
      benefits and a damages payment of $1,150.

EOF No. 109-1 at App. C.

      On January 26, 2023, the parties and counsel for the Langs

informed the Court that they had reached a settlement agreement.

The   Langs   had    originally     been    invited   to   join    the    previous

settlement    with    the   other   group    of   objectors,      but    the   Langs

declined. ECF No.       143 at 2-3.        The Langs   and Genworth held a

mediation session on December 5, 2022, but it was unsuccessful.

Id. at 3. The Langs and Genworth continued discussions until they

reached an agreement on January 24, 2023. Id.

      The terms of the Langs' Settlement Agreement (ECF No. 140-1)

are as follows. As described in the MEMORANDUM OF LAW IN SUPPORT

OF JOINT MOTION TO APPROVE SETTLEMENT WITH THE LANG OBJECTORS (ECF

No. 140) filed on January 30, 2023, the cash damages amount for




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the non-forfeiture option will increase from $1,150 to $1,250.'^

ECF No. 140 at 5. Second, even though the Langs' objections have

been overruled^, the Langs agree that all of their objections to

the settlement terms are withdrawn. Id. at 6.^ Third, the Langs

agree not to further object to the settlement, file any appeals,

or otherwise interfere with the settlement's finality. Id. Lastly,

Genworth agrees to pay the Langs an incentive payment of $7,500

each   and    attorneys'      fees   not    to   exceed    $237,500,     all   paid

separately from the payments to class members. Id. at 6-7.

                              STANDARD OF REVIEW


       The court must approve any payment or consideration "provided

in connection with . . . withdrawing an objection." Fed. R. Civ.

P. 23(e)(5)(B) . "If the consideration involves a payment to counsel

for an objector, the proper procedure is by motion under Rule 23(h)

for an award of fees." Committee Notes on Rules (2018). Pursuant

to   Fed.    R.   Civ.   P.   23(h),   "the      court    may   award   reasonable

attorney's fees . . . that are authorized by law or by the parties'


^ This change is reflected in the Third Amended Settlement
Agreement (ECF No. 141) that the parties filed for final approval
on January 30, 2023.

5 ECF Nos. 122, 123, 137 and 138.

6 The Langs' Settlement Agreement also provides that the Langs'
objections will be denied as moot because they are withdrawn. ECF
No. 140 at 6. However, as noted above, the Langs' objections were
overruled because they lacked merit in ECF Nos. 122, 123, 137, and
138, and those decisions stand as entered. The effect of the
withdrawal provisions, of course, is to foreclose any appeal of
the Langs' objections.
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agreement." Courts within the United States Court of Appeals for

the Fourth Circuit may use two competing methods of calculation

for attorneys' fees: the lodestar method or the percentage of

recovery method. In re The Mills Corp. Sec. Litig., 265 F.R.D.

246, 260 (E.D. Va. 2009). The Court has discretion to use either

method. Grissom v. The Mills Corp., 549 F.3d 313, 320 (4th Cir.

2008).

      Under the lodestar method, the Fourth Circuit has held that

"a proper calculation" of attorneys' fees requires three steps:

(1) calculating a lodestar figure by multiplying the number of

hours worked by a reasonable billing rate; (2) deducting fees for

hours worked on unsuccessful and unrelated claims; and (3) awarding

a percentage of the remaining amount, in consideration of "the

degree   of    success   enjoyed   by   the   plaintiff."   In   re   Lumber

Liquidators, 27 F.4th 291, 300 (4th Cir. 2022) (quoting McAfee v.

Boczar, 738 F.3d 81, 88 (4th Cir. 2013)).

      The percentage of recovery method requires the Court to award

attorneys' fees based on "a percentage of the Class' recovery, set

by the weighing of a number of factors by the court." In re The

Mills, 265 F.R.D. at 260. The factors generally include:

              (1) the results obtained for the Class; (2)
              objections by members of the Class to the
              settlement terms and/or fees       requested by
              counsel;  (3)   the  quality,       skill,  and
              efficiency of the attorneys involved; (4) the



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            complexity and duration of the litigation; (5)
            the risk of nonpayment; (6) public policy; and
            (7) awards in similar cases.

Id.   at   261.;   Lumber   Liquidators,   27   F.4th   at   297,   n.3.   "An

attractive aspect of the percentage of recovery method is its

results-driven nature       which 'ties    the attorneys'     award   to the

overall result achieved rather than the hours expended by the

attorneys." In re The Mills, 265 F.R.D. at 260 (citation omitted).

However, "blindly awarding a requested percentage of the funds

presents drawbacks of its own, namely what has been described as

an 'anchoring' effect, which might result in an inaccurately-high

award even if the Court awards a smaller percentage than initially

requested for fear of deviating too far." Id. (citing In re

Cardinal Health Inc. Sec. Litig., 528 F. Supp. 2d 752, 763 (S.D.

Ohio 2007)).


      For both methods, "courts will typically employ one method as

the primary calculation method and use the other method as a cross

check on the reasonableness of the first." Skochin v. Genworth

Fin., Inc., No. 3:19-CV-49, 2020 WL 6536140, at *4 (E.D. Va. Nov.

5, 2020). No matter which method is used to calculate attorneys'

fees, the Court must still determine if the result is reasonable.

Galloway, 2020 WL 7482191, at *5. To determine reasonableness, the




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Court will employ a seven-factor test that combines the Fifth

Circuit's    twelve-factor    Johnson     test   and   the       Third   Circuit's

seven-factor Gunter test. Id.; In re Genworth Fin. Sec. Litig. ^

210 F. Supp. 3d 837, 843 (E.D. Va. 2016).

      Additionally, courts within the Fourth Circuit "recognize the

purpose     and   appropriateness       of   service        awards       to     Class

Representatives." See Brown v. Transurban USA, Inc., 318 F.R.D.

560, 578 (E.D. Va. 2016) (citing Deem v. Ames True Temper, Inc.,

No. 6:10-CV-01339, 2013 WL 2285972, at *6-7 (S.D.W. Va. May 23,

2013) (approving award of $7,500 per lead plaintiff); Manuel v.

Wells Fargo Bank, No. 3:14-CV-238 (DON), 2016 WL 1070819, at *6

(E.D. Va. Mar. 15, 2016) (approving a $10,000 service award); Berry

V. LexisNexis Risk & Info. Analytics Grp., No. 3:ll-CV-754, 2014

WL 4403524, at *16 (E.D. Va. Sept. 5, 2014), aff'd sub nom. Berry

V. Schulman, 807 F.3d 600 (4th Cir. 2015) (approving a $5,000

service     award);   Burke   v.   Shapiro,      Brown      &    Alt,    LLP,     No.

3:14cv838/3:14cv201 (DJN), 2016 WL 2894914, at *6 (E.D. Va. May

17, 2016) (approving a $3,000 service award)). "A fairly typical

practice,    incentive   awards    are    intended     to       compensate      class

representatives for work done on behalf of the class, to make up

for financial or reputational risk undertaken in bringing the

action, and, sometimes, to recognize their willingness to act as

a private attorney general." Id. (quoting Manuel, 2016 WL 1070819,

at *6) (internal quotations omitted). Incentive awards have also

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been awarded to objectors who achieve a benefit for the entire

Class. Halcom v. Genworth Life Ins. Co., No. 3:21-cv-19, 2022 WL

2317435, at *16 {E.D. Va. June 28, 2022).

                                DISCUSSION


I, Attorneys' Pees

      Counsel for the Langs requests an award of $237,500 in

attorneys' fees because, in their view, negotiations with counsel

for Plaintiffs and Defendants led to an $100 increase in cash

damages for the non-forfeiture option, which is said to add over

$3,225 million of value to the settlement. ECF No. 143 at 2, 5.

Counsel asks the Court to apply the percentage of recovery method

and then to perform a lodestar cross check. Id. at 6. Counsel

estimates that they are requesting fees equal to 7.3% of the added

value to the settlement. Id.


      To assess the reasonableness of the attorneys' fees for the

Langs' counsel, the Gunter and Johnson factors are discussed in

order:


      a. Results Obtained and Amount Involved

      While the actual amount paid to class members is unknown at

this time, counsel for the Langs estimates that the increase in

the cash damages payment for the non-forfeiture option will add at

least $3,255,000,00 to the value of the settlement. ECF No. 143 at

6. Additionally, while not the main focus, the Langs' written

objection mentioned dissatisfaction with the cash damages payment

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for the non-forfeiture status option, so the value they added to

the settlement was related to their objection. ECF No. 51 at 16-

19. Although the $100 increase undoubtedly does add some value to

the class settlement, the agreement between the parties and the

Langs was reached after the Langs' objection had been overruled,

a   process   that   has   delayed   providing   relief    to   the   Class.

Additionally, the $100 increase is relatively small in comparison

to the settlement as a whole, and it is doubtful that the small

amount warranted delaying implementation of the settlement. This

delay and the relative small value of the increase notwithstanding,

this factor appears to weigh in favor of reasonableness.

      b. Objections

      As of   February 7, 2023, no objections have              been raised

challenging the fee request for Langs' counsel. Additionally, both

Class and Counsel and Genworth agreed not to oppose the request

for attorneys' fees. ECF No. 143 at 7. Accordingly, this factor

somewhat weighs in favor of finding that the award of attorneys'

fees is not unreasonable.


      c. Skill and Efficiency of Attorneys Involved

      Counsel believes they possess "the necessary skills to inform

and advise their clients and [assist] them in successfully reaching

a settlement." ECF No. 143 at 10. Robert Clore's primary practice

is in appellate litigation, but he has experience litigating class

action lawsuits, including representing objectors. ECF No. 143 at

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7-9. Blake Weiner owns a criminal law practice but asserts that he

has experience in civil practice litigating Title VII and § 1983

cases. Id. at 9-10. Accordingly, this factor appears to weigh in

favor of a finding of reasonableness.

      d. Complexity and Duration of the Litigation

      While the overall case was undoubtedly complex and difficult,

counsel for the Langs had the Second Amended Settlement Agreement

as a base to make changes to, so the process of coming up with

revisions has not been shown to be complex. Counsel argues that

they were "required to, among other things, compare and contrast

the Halcom and Skochin settlements relative to the relief offered"

here because, in their opinion, class members in non-forfeiture

status were entitled to greater relief. ECF No. 143 at 10-11.

However, the Court expressly overruled their arguments comparing

the relief between the three cases and the idea that some class

members were entitled to greater relief, so counsel's reliance on

that point is of little merit in the complexity analysis. ECF No.

122 at 27-28. And, the duration of Langs' counsel's involvement

was not long. Accordingly, this factor, at best, is neutral as to

the reasonableness of the requested attorneys' fees.

      e. Risk of Non-Payment and Public Policy

      Counsel for the Langs represent that they took this case on

a contingency fee basis and thus were "prepared to put in the time
and effort without the guarantee of payment." ECF No. 143 at 11;

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see also In re The Mills Corp. Sec. Litig., 265 F.R.D. 246, 263

(E.D. Va. 2009) ("The risk of nonpayment incurred by . . . Counsel

is evident in the fact that they undertook this action on an

entirely contingent fee basis."). Moreover, public policy favors

incentivizing "capable and seasoned counsel" to undertake complex

litigation. In re The Mills, 265 F.R.D. at 263. Because recovery

was not certain, and public policy favors the requested fee here,

this factor weighs somewhat in favor of a reasonable fee award,

      f. Time Devoted to Litigation

      Counsel represents that, as of January 30, 2023, they had

spent approximately 317.5 hours litigating this case. EOF No. 143

at 11. Counsel argues that this is less than the objectors incurred

in Halcom and is reasonable when compared to how much time counsel

for   the   other   objectors   in   this   case   spent   reaching   their

resolution. Id. at 11. Clore represents that he spent 298.7 hours

performing the following activities:

      conferring with Carrol and Lonny Lang on a regular basis;
      analyzing the Skochin and Halcom dockets; conducting
      extensive legal research; drafting, editing, and
      finalizing drafts of the written objection and
      supporting papers; preparing for the final approval
      hearing; traveling to Richmond, Virginia from Corpus
      Christi, Texas to argue at the final approval hearing;
      preparing for and engaging in a formal mediation;
      extensive settlement negotiations with opposing counsel;
      and monitoring the docket.

ECF No. 143-1 at 5-6. Weiner spent 18.8 hours "conferring with the

Langs and Mr. Clore; analyzing and editing drafts of the written


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objection and supporting papers; finalizing the objection and

supporting    papers   for   filing;      attending   the   final   approval

hearing; and participating in mediation." ECF No. 143-2 at 2.

      Counsel provided no other details to support why it was

reasonable or necessary to have devoted the hours they say they

devoted. In particular, counsel did not provide a categorized

breakdown of the kind of tasks that they performed in the 317.5

hours they claimed."^ Moreover, counsel's practice of block billing,

or lumping "several tasks together under a single entry, without

specifying the amount of time spent on each particular task,"

prevents the Court from being able to adequately determine the

reasonableness of the time spent litigating the Langs' objections.

Haught V. Wireless Ctr., Inc., No. 3:16-cv-942, 2017 WL 2193246,

at *3 (E.D. Va. May 8, 2017) (quotations and citations omitted);

see also Two Men & a Truck/Intern., Inc. v. A Mover Inc., 128 F.

Supp. 3d 919, 926 (E.D. Va. 2015) ("[B]lock billing is disfavored

in this district."). And, it is accepted that block billing is a

basis upon which to reduce a fee request. See Guidry v. Clare, 442




  In contrast, counsel for the other group of settlement objectors
provided a log of all hours spent litigating the objections and
descriptions of how each period of time was spent. ECF Nos. 104-1
and 112-2. Similarly, Class Counsel provided categorized charts
for each law firm that provided how many hours each attorney spent
performing tasks in each category, and counsel provided an
explanation of each category during the final settlement hearings
on November 17 and December 13, 2022. ECF Nos. 43-4 at 5, 43-5 at
6, 43-6 at 5, and 43-7 at 6.

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F. Supp. 2d 282, 294 (E.D. Va. 2006) ("Lumping and other types of

inadequate documentation are thus a proper basis for reducing a

fee award."); S. Bos. Energy LLC v. Hartford Steam Boiler Specialty

Ins■    Co. ,    No.    l:18-cv-596,    2019 WL 3643062,           at *5    (E.D. Va. Aug.

15, 2019)        ("If the travel time has been block billed such that the

Court cannot determine how much time was                          spent    travelling,         the

Court      may     reduce       the   overall      fee     award.") ;       Two   Men      &     a

Truck/Intern. ,         Inc.    v. A Mover Inc. ,        128 F.    Supp.    3d 919,     929-30

 (E.D. Va. 2015)          (describing "collating and filing documents with

the court,"        "reviewing files for information," and reviewing the

Docket Report as clerical work "that should not be compensated for

at     all") .    It    seems    that   the   number       of   hours      devoted    to       the

objections was far more than necessary.

        For the foregoing reasons, it is quite difficult to discern

whether it was reasonable or necessary for counsel to have devoted

317.5 hours to pressing the Lang's objections.                             That difficulty

assumes         significant      standing     in   the    reasonableness          assessment

where,     as here,        the objections were overruled and the results

obtained were modest.


        g. Fees in Similar Cases

        Lastly,        "the Court looks to fee awards in analogous cases to

determine the reasonableness of the percentage requested here." In

re Mills, 265 F.R.D. at 264.                " [M]erely comparing the size of the

fund and percentage of the award in other cases to the present

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case    discounts   the    specifics    of   each    case,   [however,   it]

nonetheless provides a valuable point of reference. Still, the

reasonableness inquiry is necessarily case-specific, and thus the

percentage actually awarded varies from case to case." Id.

       The Langs' counsel argues that their requested fee is lower

than that which was awarded to the objectors' counsel in Halcom,

which was $1.2 million. ECF No. 143 at 12; Halcom v. Genworth Life.

Ins. Co., No. 3;21-cv-19, 2022 WL 2317435, at *16 (E.D. Va. June

28, 2022). Additionally, counsel cites at least three cases where

objectors'    counsel     has   been   awarded   a   significantly   higher

percent. Id. (citing Kaufman v. Am. Express Travel Related Servs.,

Co., 2016 WL 806546, at *13-*14 (N.D. 111. Mar. 2, 2016) (awarding

objector fees of 34% of the benefit); Arnett v. Bank of Am., N.A.,

2014 U.S. Dist. LEXIS 149679, 2014 WL 5419125, at *3 (D. Or. Oct.

22, 2014) (25% fee to objector's counsel); Lan v. Ludrof, No. 1:06-

cv-114, 2008 WL 763763, at *28 (W.D. Pa. Mar. 21, 2008) (awarding

objector fee of 25% of the benefit)). However, none of these cases

are from this District or from a trial court within the Fourth

Circuit.


       For the foregoing reasons, this factor is neutral as to a

finding of reasonableness.

       h. Lodestar Cross-Check


       Counsel for the Langs estimates that, as of January 30, 2023,

their lodestar amount is $234,485. ECF No. 143 at 12-13; see also

                                       21
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In re The Mills, 265 F.R.D. at 264 ("[T]he Court may accept hours

estimates provided by Lead Counsel.") -           This creates a current

multiplier    of   1.02.   Counsel   contends    this   is   reasonable   in

comparison to the 2.4 multiplier for the objectors' counsel in

Halcom, the 3.0 multiplier for the Friedman objectors' counsel,

and the 3.75 multiplier for the Belkin objectors' counsel. ECF No.

143 at 13.


      Based on the record before the Court, it cannot be said that

the Langs' counsel's request of $237,500 in attorneys' fees is

reasonable. To begin, counsel block billed the 317.5 hours, so the

Court cannot determine whether counsel spent a reasonable amount

of   time   litigating     the   Langs'    objection   or   whether   counsel

impermissibly charged more hours than necessary. Second, the

Langs' objection relating to the agreement reached with the parties

had already been overruled, so continuing to negotiate an agreement

delayed implementing the relief for the Class. Finally, the

settlement was for a relatively small amount, so the award of all

attorneys' fees requested is not warranted because the fee request

is for securing a modest result. Nonetheless, notwithstanding the

lack of merit to the objections, the delay, and the modest relief

obtained, the Langs' counsel is entitled to a reasonable fee. The

claimed hours (317.5) amounts to slightly less than 40 eight-hour

days (39.6875). Having reviewed, and heard argument on, the Langs'

objections, having taken into account the results secured, and

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having . considered      all     other    applicable   factors,    the   Court

concludes that a reasonable fee to compensate counsel for the

results obtained       is $80,000.       The   Court finds   that this   is   a

reasonable amount considering the substance of the objection, the

ultimate result of the agreement, the stage of the litigation at

which the agreement was reached, and the amount of time reasonably

devoted to achieve the result.


II. Langs' Service Awards

      In Halcom, the Court awarded a $7,500 incentive payment for

each of the represented objectors after finding such an award was

reasonable. No. 3:21-cv-19, 2022 WL 2317435, at *16 {E.D. Va. June

28, 2022). Likewise, the Court awarded a $7,500 incentive payment

to   each   of   the   earlier    settlement     objectors   who   reached    an

agreement before their objections were overruled. ECF No. 132. The

Langs request the same incentive payment to compensate them for

standing up on behalf of the Class, "refusing to agree to the

initial settlement offer, and [expending] time to achieve" the

improvements to the settlement. ECF No. 143 at 15. The Langs did

expend time and energy helping counsel achieve an agreement with

the parties. However, their objections lacked merit, the results

obtained were modest, and the record does not establish why a

$7,500 service award would be warranted. Accordingly, the Court

will award an incentive payment of $3,750 to each of the Langs.



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                                CONCLUSION



      For the foregoing reasons, and to the extent outlined above,

the Langs' Fees Motion will be granted in part and denied in part.

The Court will award $80,000.00 in attorneys' fees to the Langs'

counsel and a $3,750 incentive payment to Lonny and Carrol Lang.

      It is so ORDERED.



                                               /./
                             Robert E. Payne
                             Senior United States District Judge



Richmond, Virginia^
Date: February ^ 7 , 2023




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